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      Federal Defender
 2    DAVID M. PORTER, # 127024
      Assistant Federal Defender
 3    801 I Street, 3rd Floor
      Sacramento, CA 95814
 4    Telephone: (916) 498-5700
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 5
      Attorneys for Defendant
 6    TROY DONAHUE BARRON
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                    )   Case No. S 96-190 JAM 2
                                                   )
11                        Plaintiff,               )   Request to Extend Deadline for Filing a
                                                   )   Supplement or Other Appropriate
12    v.                                           )   Response; Order
                                                   )
13    TROY DONAHUE BARRON,                         )
                                                   )
14                        Defendant.               )   Judge: Honorable JOHN A. MENDEZ
                                                   )
15                                                 )
16           On March 31, 2019, this Court issued an order directing the Office of the Federal
17    Defender to file a supplement or other appropriate response to defendant’s pro se motion
18    to reduce sentence under the First Step Act no later than April 20, 2019. For the reasons
19    set forth below, counsel requests a thirty-day extension of the deadline.
20           The undersigned is the attorney responsible for assisting defendants convicted in
21    the Eastern District of California seeking sentence reductions pursuant to Section 404 of
22    the First Step Act. Because of the age of this case, counsel has encountered difficulties in
23    gathering the necessary documents needed to analyze the relevant issues raised by the
24    motion. Accordingly, the undersigned respectfully requests an extension until May 20,
25    2019, to file a supplement or other appropriate response to defendant’s pro se motion
26    ///
27
28

       Request to Extend Deadline for Filing a          -1-           United States v. Troy Donahue Barron,
       Supplement or Other Appropriate Response;                                        Civ. S 96-190 JAM 2
       Od
     Case 2:96-cr-00190-JAM-GGH Document 387 Filed 04/22/19 Page 2 of 3


 1    filed January 28, 2019. A proposed order is lodged herewith.1
 2    Date: April 19, 2019
 3                                                    Respectfully submitted,
 4                                                    HEATHER E. WILLIAMS
                                                      Federal Defender
 5
 6                                                    /s/ David M. Porter
                                                      DAVID M. PORTER
 7                                                    Assistant Federal Defender
 8                                                    Attorneys for Defendant
                                                      TROY DONAHUE BARRON
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       The undersigned emailed the prosecutor to determine his position with respect to this request
      but has not yet received a response.
       Request to Extend Deadline for Filing a      -2-              United States v. Troy Donahue Barron,
          Supplement or Other Appropriate Response;                                    Civ. S 96-190 JAM 2
          Od
     Case 2:96-cr-00190-JAM-GGH Document 387 Filed 04/22/19 Page 3 of 3


 1                                                 ORDER
 2           Pursuant to defendant’s request, and good cause appearing therefor, the Office of
 3    the Federal Defender is directed to file a supplement or other appropriate response on or
 4    before May 20, 2019
 5           IT IS SO ORDERED.
 6    Dated: April 22, 2019                         /s/ John A. Mendez_______________
                                                    HONORABLE JOHN A. MENDEZ
 7
                                                    United States District Court Judge
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       Request to Extend Deadline for Filing a       -3-           United States v. Troy Donahue Barron,
       Supplement or Other Appropriate Response;                                     Civ. S 96-190 JAM 2
       Od
